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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA

 SNIIIC TWO, LLC,

        Plaintiff,
                                                     CASE NO.:
 vs.
                                                     (Formerly Orange County Court Case No.
 OCWEN LOAN SERVICING, LLC,                          2019-CA-001890-O)
 AMERICAN SECURITY INSURANCE
 COMPANY,

       Defendants.
 _____________________________________/

                          DEFENDANT’S NOTICE OF REMOVAL

        Defendant OCWEN LOAN SERVICING, LLC (“OCWEN”) removes the action

 currently pending in the County Court of the Ninth Judicial Circuit in and for Orange

 County, Florida, Case No. 2019-CA-001890-O (the “State Court Action”), to the United

 States District Court for the Middle District of Florida, pursuant to 28 U.S.C. § 1441 and 28

 U.S.C. § 1331.       Federal question jurisdiction arises under the Federal Debt Collection

 Practices Act (“FDCPA”), 15 U.S.C. § 1692e. The grounds for removal of the State Court

 Action are more fully set forth below.

                 A.      BACKGROUND & CONDITIONS OF REMOVAL

        1.      On or about February 13, 2019, SNIIIC TWO, LLC (“Plaintiff”) filed this

 lawsuit in the County Court of the Ninth Judicial Circuit, in and for Orange County, Florida,

 Civil Case No. 2019-CA-001890-O. Plaintiff has asserted causes of action against OCWEN

 for alleged violations of the FDCPA, the Florida Consumer Collection Practices Act

 (“FCCPA”), and Florida Deceptive and Unfair Trade Practices Act (“FDUTPA”), as well as
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 for breach of contract, accounting, and declaratory relief. 1 On February 22, 2019, Plaintiff

 effected service of process on OCWEN.

         2.     Venue is proper in the United States District Court for the Middle District of

 Florida because the case is being removed from the County Court of the Ninth Judicial

 Circuit in and for Orange County, Florida.

         3.     Nothing in this Notice of Removal shall be interpreted as a waiver or

 relinquishment of any of OCWEN’s rights to assert any defenses or affirmative claims,

 including a counterclaim.

         4.     Pursuant to 28 U.S.C. § 1446(b), this Notice of Removal is being filed within

 thirty (30) days from the date of OCWEN’s receipt of the initial pleading. 2

         5.     This action is not a non-removable action as described under 28 U.S.C. §

 1445.

         6.     Pursuant to 28 U.S.C. § 1446(a), a true and correct copy of all process and

 pleadings served as of this date is attached hereto as Composite Exhibit “A.”

         7.     In accordance with 29 U.S.C. § 1446(d), contemporaneously with the filing of

 this Notice of Removal, OCWEN has served Plaintiff with a copy of this Notice of Removal

 and has filed a Notice of Filing Notice of Removal with the Clerk of the Court for the Ninth

 Judicial Circuit in Orange County, Florida.        A copy of the Notice of Filing Notice of

 Removal (without attachments) is attached hereto as Exhibit “B.”


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   Plaintiff also asserts a claim against American Security Insurance Company (“ASIC”) for
 breach of contract. However, the online docket does not reflect any service of process on
 ASIC.
 2
   Pursuant to Federal Rule of Civil Procedure 6(a)(1), the 30-day period runs through today
 because 30 days would have otherwise expired on a Sunday.


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                                 B.      THE COMPLAINT

        8.      Plaintiff sued OCWEN seeking damages for purported violations of the

 FDCPA, FCCPA and FDUTPA as well as for breach of contract, an accounting and

 declaratory relief based upon allegations that OCWEN improperly and willfully assessed and

 attempted to collect incorrect fees and charges that were not legitimate and/or against the

 terms of Plaintiff’s mortgage loan. See Composite Exhibit “A.”

        9.      Plaintiff alleges a claim under FDCPA pursuant to 15 U.S.C. 1692e.

                        C.   FEDERAL QUESTION JURISDICTION

        10.     Pursuant to 28 U.S.C. § 1441(a), “any civil action brought in a state court of

 which the district court of the United States have original jurisdiction, may be removed by

 the defendants, to the district court of the United States….where such action is pending.”

 This Court has original jurisdiction under 28 U.S.C. § 1331 because there is a claim under

 federal law – FDCPA.

        11.     This Court also has supplemental jurisdiction over Plaintiff’s state law claims

 brought under the FCCPA and FDCUTPA and for breach of contract, an accounting and

 declaratory relief. Such claims are based upon the same factual allegations as Plaintiff’s

 claim for violation of the FDCPA and thus, “are so related” to the federal claims “that they

 form part of the same case or controversy under Article III of the United States Constitution.”

 28 U.S.C. § 1367(a).

                                    D.     CONCLUSION

        11.     Removal of this case is timely and appropriate, and this Court has federal



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 question jurisdiction over the FDCPA claim and supplemental jurisdiction over the state law

 claims in this action. OCWEN respectfully requests that this Court take jurisdiction over this

 matter and remove this action from the County Court of the Ninth Judicial Circuit in and for

 Orange County, Florida to the United States District Court for the Middle District of Florida.

        WHEREFORE Defendant OCWEN respectfully requests that the aforesaid action

 now pending in the County Court of the Ninth Judicial Circuit in and for Orange County,

 Florida, No. 2019-CA-001890-O be removed to this Honorable Court.

                                              Respectfully submitted,

                                              By:/s/ Linda M. Reck
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                               CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on March 25, 2019, a true and correct copy of the

 foregoing was filed with the Clerk of the Court using the State of Florida e-filing system

 which    will   send   a   notice of electronic   service to:   John   Z.   Lagrow,   Esq.,

 jlagrow@johnzlawgrowpa.com, John Z. Lagrow, P.A., 1876 Oakbrook Drive, Longwood,

 FL 32779.

                                                    /s Linda M. Reck


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